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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Carl Chatman, et al.
                                Plaintiff,
v.                                                     Case No.: 1:14−cv−02945
                                                       Honorable John Z. Lee
John Roberts, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 12, 2018:


        MINUTE entry before the Honorable John Z. Lee: Status hearing held on 4/12/18.
OPS Defendants' motion to revised judgment [539] is granted without objectino;
Defendants Lightfoot, Morris and Willis and they are dismissed with prejudice. Any
motions to reconsider the Court's ruling shall be due by 4/30/18. Plaintiff's oral motion to
dismiss the Monell claim is granted. Daubert motions are due by 5/10/18; responses due
by 6/7/18; reply due by 6/21/18. Jury trial is set for 11/26/18 at 9:00 a.m. Pretrial
conference is set for 9/14/18 at 1:30 p.m. Motion in limine shall be due July 27, 2018;
responses are due by 8/10/18. A proposed final pretrial order is due by 8/2/18 and should
be submitted to the Court's proposed order mailbox and not filed on the docket. The
parties must comply with the Court's standing order regarding the preparation and
submission of proposed final pretrial orders; it is available on the Court's website. Mailed
notice(ca, )




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